
PER CURIAM.
Ray C. Craig petitions for a writ of common law certiorari seeking review of a clerk’s order dismissing his appeal from the appellate division of the circuit court for failure to timely file his initial brief.
We grant the petition, as “[i]t is an established principle of law that dismissal of an appellate proceeding should be employed sparingly and only after repeated violations or contumacious disregard of a court’s orders.” Krebs v. State, 588 So.2d 38 (Fla. 5th DCA 1991) (citations omitted). The order that established the briefing schedule was ambiguous because it was subject to various interpretations. Pursuant to our reading of the order, appellant’s brief was timely filed.
Accordingly, we grant the petition, quash the order under review, and remand for reinstatement of the appeal.
